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 UNITED STATES DISTRICT COURT                                              :I ~~;c:~ RO ~ ICA LLY FIL ED
 SOUTHERN DISTRICT OF NEW YORK
 -   -   -    -   -   -   -   -    -   -   -   -   -   -   -   X           ii D'\T 111.ED:_ 5//6}1----3
 STRUCTURED ASSET SALES , LLC ,

                                  Plaintiff ,                           18 Civ . 5839 (LLS )

             - against -                                                 OPINION & ORDER

 EDWARD CHRISTOPHER SHEERAN , p/k/a
 ED SHEERAN , SONY/ATV MUSIC
 PUBLISHING , LLC , ATLANTIC RECORDING
 CORPORATION d/b/a ATLANTIC RECORDS ,
 BDI MUSIC LTD. , BUCKS MUSIC GROUP LTD .,
 THE ROYALTY NETWORK , INC ., DAVID
 PLATZ MUSIC (USA) INC. , AMY WADGE ,
 JAKE GOSLING and DOES 1 THROUGH 10 ,

                                  Defendants.
                                                           X
             This case presents the question of whether the song

 " Thinking Out Loud " infringes the copyright of "Let's Get It

 On ." On September 29 , 2022 , the Court denied defendants' Renewed

 Motion for Summary Judgment dismissing the case. Defendants now

 move for reconsideration of that Order .

             For the following reasons , defendants ' Motion for

 Reconsideration is granted and the complaint is dismissed .

                                                           Background

             The Court assumes the parties' familiarity with this case

 and recounts only what is necessary to decide defendants ' Motion

 for Reconsideration .

             Ed Townsend and Marvin Gaye Jr . wrote and internationally

 released the song "Let's Get It On" in 1973 . 0kt . No . 102


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 (" Third Amended Complaint " )                       ':II   1; Dkt . No . 201 (" Defendants ' Rule

56 . 1 Statement " )            ':I[   17 .   On July 17 , 1973 , Townsend applied to

copyright the song with the U. S . Copyright Office . Dkt . No . 201

':II   19 . In support of that application , he deposited with the

Copyright Office a copy of the sheet music . Id .                                            ':I[     20 . The sheet

mus i c , which is known as the " Deposit Copy ," was subsequently

registered under Registration No . EP 314589 . 1 Id .                                               ':I[   21 .

Plaintiff , Structured Assets Sales , LLC ("SAS " ) has an 11 . 11 %

beneficial interest in the right to receive royalties from the

copyright of " Let ' s Get It On ."                                Dkt . No . 102     ':II   18 ; Dkt . No . 201

':II   18 .

              In February 2014 , defendants Ed Sheeran and Arny Wadge c o -

authored the song "Thinking Out Loud ." Dkt . No . 201                                                     ':II   24. Days

later , Sheeran recorded , and co - defendant Jack Gosling produced ,

wha t wou l d become the commercially released version of the song .

 Id .         ':I[   26 ; Dkt . No . 102      ':I[   25 . " Thinking Out Loud " was released

 to great commercial and critical success , includ i ng a Grammy

Award for Song of the Year . Dkt . No . 102                                 ':II   17 . Co - defendants

 SONY/ATV Music Publishing , Atlantic Recording Company d / b/a

Atlantic Records , BDi Music Ltd. , Bucks Music Group Ltd ., The

 Royalty Network , Inc . , and David Platz Music (USA ) Inc. , as




 1Marvin Gaye Jr . created a Sound Recording of "Let ' s Get It On , "
 which was commercially released . The Sound Recording was never
 copyrighted and is not at issue in this dispute .
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publishers and distributors of "Thinking Out Loud, " facilitated

and assisted with its distribution , promotion , and sales .

       SAS alleges that "Thinking Out Loud" infringes on the

copyright of the sheet music of "Let's Get It On ." Defendants

moved for Summary Judgment dismissing the case and SAS cross-

moved for Summary Judgment granting it profits from Sheeran's

live performance of "Thinking Out Loud." 2 0kt . No. 202; 0kt. No .

205.

       In its Order denying defendant 's Motion for Summary

Judgment , the Court recognized that this Circuit treats the

question of whether "particular elements of a work demonstrate

sufficient originality and creativity to warrant copyright

protection as a question for the factfinder." Matthew Bender &

Co . v . W. Pub . Co., 158 F . 3d 67 , 681   (2d Cir . 1998) . With this

in mind, the Court held that the parties ' dispute over the

originality of the selection and arrangement of the combination

of two commonplace musical building blocks-the chord progression

and harmonic rhythm- in "Let's Get It On" was a genuine dispute

necessitating denial of defendants ' motion.




2 The parties' initial motions for summary judgment were denied
with leave to renew after SAS amended its Experts' Reports. Dkt.
No . 198. The parties thereafter filed Renewed Motions for
Summary Judgment, which the Court denied in part and granted in
part. 0kt. No. 211. It is that denial which defendants urge the
Court to reconsider .
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      Defendants filed a motion for recon s ideration urging the

Court to recons i der its findings on l iability and grant Summary

Judgment dismissing the case , or in the alternative to certify

the question of how to satisfy the numero s ity requirement under

t he selection and arrangement test for infringement . Dkt . No .

212 . SAS promptly opposed the Motion for Reconsideration.                  Dkt .

No . 214 .

                                Legal Standards

      1. Motion for Reconsideration

      Under Rule 54 of the Federal Rules of Civil Procedure , the

Court has the inherent power to reconsider any of its decisions

prior to the entry of a final judgment adjudicating all claims

at i s sue . Fed . R. Civ . P . 54(b) . A motion for reconsideration is

" an extraordinary remedy to be employed sparingly in the

i nterests of f i nality ." Drapkin v . Mafco Consol . Grp .,           Inc ., 818

F . Supp . 2d 678,   695   (S.D . N . Y.   2011) . Reconsideration is

warranted where there is an "intervening change of controlling

law , the availability of new evidence , or the need to correct a

clear error or prevent manifest injustice ." DiLaura v . Power

Auth . of New York ,   982 F . 2d 73 , 76 (2d Cir . 1992) .         The decision

as to whether to grant a motion for reconsideration lies

squarely within the court ' s discretion . Analytical Survs. ,               Inc .

v . Tonga Partners , L . P. ,    684 F . 3d 36 ,   52   (2d Cir . 2012) .

      2. Copyright Infringement

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     To establish a claim of copyright infringement , "a

plaintiff with a valid copyright must demonstrate that :          (1) the

defendant has actually copied the plaintiff ' s work ; and (2) the

copying is illegal because a substantial similarity exists

between the defendant ' s work and the protectable elements of

plaintiff ' s. " Peter F . Gaito Architecture , LLC v . Simone Dev .

Corp ., 602 F.3d 57 , 63   (2d Cir . 2010).   The Court can decide as

a matter of law that there is no substantial similarity between

the works because "the similarity between two works concerns

only non-copyrightable elements of the plaintiff ' s work." Warner

Bros . Inc . v . Am. Broad . Cos. , 720 F . 2d 231 , 240   (2d Cir . 1983)

     The test for substantial similarity in music infringement

cases is whether a plaintiff can prove that "defendant took from

plaintiff 's works so much of what is pleasing to the ears of lay

l isteners , who comprise the audience for whom such .           . music

is composed , that defendant wrongfully appropriated something

which belongs to the plaintiff ." Repp v. Webber , 132 F . 3d 882 ,

889 (2d Cir . 1997)   (alteration in original) . When , as here, the

song 's aesthetic appeal is due largely to unprotectable

elements , the Court ' s analysis of substantial similarity "must

be more discerning , and ignore those aspects of a work that are

unprotectable ... lest [courts] conflate mere copying with

wrongful copying. " Zalewski v . Cicero Builder Dev ., Inc ., 754

F . 3d 95 , 102 (2d Cir . 2014) .

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        In doing so , the Court is not required to "compare only

those elements which are themselves copyrightable." Peter F.

Gaito Architecture , LLC , 602 F.3d at 66 . Instead, the court is

"' principally guided by comparing the contested work ' s total

concept and overall feel with that of the allegedly infringed

work .'" Nwosuocha v. Glover , No . 21 CIV. 04047 , 2023 WL 2632158,

at *4    (S . D. N. Y. Mar . 24 , 2023)   (quoting Peter F . Gaito

Architecture, LLC , 602 F.3d at 66) . "This is so because 'the

defendant may infringe on the plaintiff's work not only through

literal copying of a portion of it , but also by parroting

properties that are apparent only when numerous aesthetic

decisions embodied in the plaintiff ' s work of art-the

excerpting , modifying , and arranging of unprotectible

components- are considered in relation to one another .'" Peter F .

Gaito Architecture , LLC, 602 F . 3d at 66 (quoting Tufenkian

Imp./Exp. Ventures , Inc. v . Einstein Moomjy , Inc ., 338 F . 3d 127,

134   (2d Cir . 2003)) ; see also McDonald v. West , 138 F. Supp. 3d

448 , 456 (S . D. N. Y. 2015) , aff ' d , 669 F . App'x 59 (2d Cir. 2016)

(same) . "[ W]here a work relies on the compilation or arrangement

of unprotectible elements , it is only eligible for copyright

protection ' if those elements are numerous enough and their

selection and arrangement original enough that their combination

constitutes an original work of authorship. '" Threeline Imports ,

Inc. v . Vernikov , No . 15 Civ. 02333 , 2016 WL 11472749, at *13

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(E.D.N.Y . Oct . 28, 2016)   (quoting Satava v . Lowry , 323 F.3d 805,

811 (9th Cir. 2003)).

                                Analysis

  1. Reconsideration is Warranted

     Defendants argue that reconsideration is proper to avoid

clear error because the Court overlooked the numerosity

requirement for selection and arrangement claims of

infringement . Dkt. No. 213 at 5 . SAS responds that defendants

have not identified any controlling decisions that the Court has

overlooked or any intervening change of controlling law. Dkt .

No . 214 at 1.

     The Court denied Defendant ' s Renewed Motion for Summary

Judgment , in part , because its sister action Griffin v . Sheeran ,

which arose from the same nucleus of facts and asserted the same

claim of infringement , was proceeding to trial. Summary Judgment

dismissing the claim was denied in Griffin in January 2019 .

Griffin v . Sheeran , 351 F. Supp. 3d 492 , 494     (S . D. N. Y. 2019)

Afterward , the Ninth Circuit decided Skidmore as Tr . for Randy

Craig Wolfe Tr . v. Led Zeppelin , 952 F . 3d 1051 , 1064     (9th Cir .

2020) , which is one of the clearest articulations of how

copyright law applies to musical compositions . This Court has

already adopted and applied to this case one holding of

Skidmore : that the scope of copyright protection only extends to

the Deposit Copy , here the sheet music of "Let ' s Get It On ."

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Skidmore also expressly laid out a numerosity requirement for

selection and arrangement copyright claims holding that

protection applies to "a combination of unprotectable elements

... only if those elements are numerous enough and their

selection and arrangement original enough that their combination

constitutes an original work of authorship ." Id. at 1074.

     The numerosity requirement has been alluded to , but not

strictly followed , in the Second Circuit . Compare Peter F . Gaito

Architecture , LLC , 602 F . 3d at 66 (finding infringement when

" numerous aesthetic decisions embodied in the plaintiff ' s work

of art-the excerpting , modifying , and arranging of

[unprotectible components]      . .. -are considered in relation to one

another " ) with Knitwaves , Inc . v . Lollytogs Ltd .   (Inc . ) , 71 F . 3d

996 , 1004   (2d Cir . 1995)   ("What is protectible then is the

author ' s original contributions , the original way in which the

author has ' selected, coordinated , and arranged ' the elements of

his or her work ." ) . There have been few opportunities to apply

the principle of numerosity to musical compositions. In its

Order denying Summary Judgment dismissing the claim , this Court

declined to grapple with whether a numerosity requirement should

be imposed and instead found that there is no bright - line rule

requiring it . 0kt. No. 211.

     Since then , courts in this Circuit have started to weigh

the numerosity of the elements when deciding whether their

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combination should be protected. In Nwosuocha v . Glover, 21 Civ.

04047 , 2023 WL 2632158   (S . D.N.Y. Mar. 24, 2023), the Court

implied a high threshold for numerosity when it found that a

combination of eight unprotected musical elements was

"categorically ineligible for copyright protection." Id . at *7 .

Having previously disdained the issue of numerosity, the Court

finds that it improperly disregarded it in denying defendants '

motion to dismiss without weighing whether and how to apply the

requirement .

  2. Defendants' Renewed Motion for Summary Judgment is Granted

     SAS alleges that the combination of the chord progression

and the harmonic rhythm used in "Thinking Out Loud" is

substantially similar to that in "Let's Get It On," and thus

infringes the work. SAS acknowledges, and the Court concurs,

that the chord progression and harmonic rhythm , in isolation,

are not individually protected . The question then is whether two

common elements are numerous enough to make their combination

eligible for copyright protection .

     Unprotected musical elements might be so selected and

arranged that they form a whole whose patterns and effects are

protectable . See Tufenkian Imp . /Exp. Ventures , Inc. v . Einstein

Moomjy , Inc ., 338 F . 3d 127, 134   (2d Cir . 2003) . The scope of

that protection is limited to the particular way in which the

unprotected elements form the coherent pattern or design and

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does not extend to the underlying elements themselves . See id .

at 136 . Thus , a protectable mosaic may be formed from

unprotected chips , but it needs a number of them : not one or

two . Otherwise , the arrangement is devoid of any contribution

from the author . It is nothing more than an impermissible

attempt to copyright what is already in the public domain and

capture what is freely available to all to use . Deciphering what

constitutes a protectable , original selection and arrangement

from a combination of unprotected properties has long vexed the

courts .

      The numerosity requirement springs from the nature of that

postulate. Requiring numerous unprotected elements to be present

before determining whether their selection and arrangement is

protectable reinforces the constitutional requisite that a

copyrighted work , or piece of a work , be original enough to

warrant protection . See Peter F . Gaito Architecture , LLC , 602

F . 3d at 66 .   That is " the sine qua non of copyright . " Feist

Publications , Inc . v . Rural Tel . Serv . Co ., 499 U.S . 340 , 346

( 1 99 1 ) . The selection and arrangement of unprotected musical

elements " cannot be so mechanical or routine as to require no

creativity whatsoever ." Id . at 358 . Requiring numerous elements

prevents the misapplication of copyright law and ensures it is

not being used to protect combinations that occur routinely



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without any minimal creative contribution attributable to the

author .

      Numerous means " many ; great in number." Numerous , Oxford

English Dictionary (3d . ed . 2003) . There is no bright - line rule

dictating the threshold over which a specific number of

unprotectable elements in a work must pass to become

sufficiently numerous to protect the aesthetic decision to

select and arrange them in an original way . Nonetheless , common

sense dictates that in the context of a musical composition ,

" numerous " requires more than just a commonplace chord

progression and harmonic rhythm to warrant protecting their

combination . 3 See Nwosuocha v. Glover , 21 Civ . 04047 , 2023 WL

2632158 , at *7   (S . D. N.Y . Mar . 24 , 2023)   (holding that the eight

musical elements in plaintiff ' s song "lack sufficient

originality alone , or as combined , to merit compositional

copyright protection or are categorically ineligible for

copyright protection " ) . To protect an arrangement with few parts

may be to read the numerosity requirement out of the law . That

is especially true here where the chord progression and the




3
 Outside of the musical context , the "combination of two
unprotectable elements " has been found to be "not sufficiently
numerous or original to constitute original work entitled to
copyright protection ." Beyond Blond Prods ., LLC v . Heldman , 479
F. Supp . 3d 874 , 883 (C . D. Cal . 2020) , aff ' d sub nom . Beyond
Blond Prods ., LLC v . ComedyMX , LLC , No . 21 - 55990 , 2022 WL
1101756 (9th Cir . Apr . 13 , 2022) .
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harmonic rhythm (how the chord progression is played) in " Let ' s

Get It On " do not form a pattern , but instead essentially merge

into one element .

     This Court is not aware of any case upholding a selection

and arrangement claim based on the combination of two

commonplace , unprotectable musical elements . Courts often

evaluate combinations of at least three common musical elements

and still find their selection and arrangement to be unoriginal .

See Gray v. Hudson , 28 F . 4th 87 , 102 (9th Cir . 2022)     ("This

combination is unoriginal because it is really nothing more than

a two - note snippet of a descending minor scale , with some notes

repeated. " ) ; Peters v . West , 776 F . Supp. 2d 742 , 751 (N . D. Ill .

2011) , aff ' d , 692 F . 3d 629 (7th Cir . 2012)   (holding the

combination of three unprotected elements is not protectable);

Cottrill v . Spears , No . 02-3646 , 2003 WL 21223846 , at *9 (E . D.

Pa . May 22 , 2003) , aff'd , 87 F . App ' x 803 (3d Cir . 2004) , as

amended on reh ' g (June 2 , 2004)    (holding four commonplace

musical elements are not numerous enough to warrant protection)

In Satava , a case not about music but about glass jellyfish

sculptures , the court dismissed a selection and arrangement

claim of infringement because the combination of six commonplace

elements "lacks the quantum of originality needed to merit

copyright protection ." Satava v. Lowry , 323 F . 3d 805 , 811      (9th

Cir . 2003) .

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     At some level , every work is the selection and arrangement

of unprotectable elements . Musical compositions chiefly adhere

to this template . All songs , after all , are made up of the

" limited number of notes and chords available to composers ."

Gaste v . Kaiserman , 863 F . 2d 1061 , 1068   (2d Cir. 1988) . Within

that limited number , there are even fewer ways to combine the

elements in a manner that is pleasing to the ears . That means a

songwriter only has finite options for playing a commonplace

chord progression . The options are so few that many combinations

have themselves become commonplace , especially in popular music .

If the selection and arrangement of unprotectable elements , in

their combination , is " so commonplace that it has come to be

expected as a matter of course ," then it lacks the "minimal

creative spark required by the Copyright Act and the

Constitution " to be original and thus protectable . Feist

Publications , Inc . v . Rural Tel . Serv . Co ., 499 U. S . 340 , 363

(1991) .

      It is an unassailable reality that the chord progression

and harmonic rhythm in " Let ' s Get It On" are so commonplace , in

isolation and in combination , that to protect their combination

would give " Let ' s Get It On " an impermissible monopoly over a

basic musical building block . "Let's Get It On ' s " chord

progression was used at least twenty - nine times before appearing

in " Let ' s Get It On " and was in another twenty - three songs

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before " Thinking Out Loud" was released. See Dkt . No . 179 Ex . 2

("Defendants ' Expert ' s Report") at Visual Exhibit H. It is so

ubiquitous that it has been taught for many years         (the issue of

this publication in the exhibit was dated as 2000) as a popular

chord progression in introductory books on how to play guitar

and piano . See id . at~~ 34 - 36 (citing Money Chords : A

Songwriter ' s Sourcebook of Popular Chord Progressions and Guitar

for Advanced Beginners) . The harmonic rhythm was used in at

least eight other songs before "Let ' s Get It On" and in another

fifteen before the release of "Thinking Out Loud. " Dkt . No. 179

Ex . 9 (" Defendants ' Expert ' s Report") at 9- 10 . It is so common

that Mr . Sheeran himself used it , or a similar version , in at

least twenty additional songs he wrote before writing " Thinking

Out Loud ." Dkt . No . 179 Ex . 2 at Visual Exhibit I .

     The combination is commonplace . Amy Wadge , who co - wrote

"Thinking Out Loud, " used a nearly identical combination in one

of her prior songs , " Better Than Me ." Id . at~ 63 (the only

difference between "Thinking Out Loud" and this prior work by

Wadge is that the prior work also happens to anticipate the

third chord change) . Defendants ' experts also identified ,

undisputed by SAS ' s expert , 4 at least four songs that were



4SAS ' s expert , Dr . Covach , did not dispute that the songs used
the same combination of elements . Rather , he argued that other ,
potentially more popular , versions of the songs did not use the
combination . Dkt . No. 200 Ex. 9 ~~ 10 - 13 .
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released prior to "Let's Get It On" that used virtually the same

combination. Id. at!! 43-46, 56-60; 107 (discussing examples of

prior art, including the songs "Georgy Girl," "Since I Lost My

Baby," "Downtown," and "Get Off Of My Cloud"); Dkt. No. 179 Ex.

20 ("Defendants' Expert's Rebuttal Report") !! 26-38. The

combination has also been used in songs that were released after

"Let's Get It On" but before "Thinking Out Loud." Dkt. No. 179

Ex. 2 ! 4 (discussing "I've Got Love On My Mind"); Id. Ex.           9 at

38   (discussing "Do It To Me"). While the appearance of the

combination in other songs has no bearing on whether it is

original in "Let's Get It On," it does illustrate how multiple

songwriters have combined the two commonplace elements in the

same manner for years.

      The selection and arrangement of these two musical elements

in "Let's Get It On" is now commonplace and thus their

combination is unprotectable. If their combination were

protected and not freely available to songwriters, the goal of

copyright law "[t]o promote the Progress of Science and useful

Arts" would be thwarted. U.S. Const. art. I§ 8. The Copyright

Act envisioned that there will be unprotectable elements-based

works "in which the selection, coordination, and arrangement are

not sufficiently original to trigger copyright protection."

Feist Publications, Inc., 499 U.S. at 358.



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     As a matter of law , the combination of the chord

progression and harmonic rhythm in "Let ' s Get It On " is too

commonplace to merit copyright protection.

                                 Conclusion

     To prevent manifest injustice , defendants ' Motion for

Reconsideration is granted. Dkt . No . 212 . There is no genuine

issue of material fact as to whether defendants infringed the

protected elements of " Let ' s Get It On ." The answer is that they

did not . Accordingly , their Motion for Summary Judgment is

granted . The Complaint is dismissed with prejudice .

      Plaintiff ' s renewed cross - motion for Summary Judgment is

denied .

      The Clerk of the Court is directed to close the case .

      So Ordered.

Dated :    New York , New York
           May 16 , 2023


                                                 L~s L..staav~
                                              LOUIS L . STANTON
                                                  U. S . D.J .




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